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           EXHIBIT H
  Case 1:18-cv-05427-JSR Document 321-8 Filed 12/01/20 Page 2 of 21




                          ·证据目录

提交人：深圳市斯凯荣科技有限公司（“斯凯荣公司”）



提交日期：2019 年 6 月      日


 编号
                 证据名称                 证据来源             证明事项
（页码）

       第一部分：涉案信息属于斯凯荣公司的商业秘密，依法应当受到保护


                （一）涉案信息包括技术信息和经营信息


                                               斯凯荣公司主张保护的涉
          斯凯荣公司主张保护的移
   1                                           案信息包括技术信息和经
          动漫游相关技术信息和经             斯凯荣公司
 （1）                                           营信息，斯凯荣公司对此享
          营信息（保密证据）
                                               有权利。


                     （二）涉案信息属于商业秘密

   2
          员工手册                    斯凯荣公司
（2-18）                                         涉案信息符合商业秘 密的
   3      王斌与斯凯荣公司签订的                          构成要件，属于商业秘密。
                                  斯凯荣公司
（19-20）   保密协议


                   第二部分:王斌接触了涉案商业秘密


   4      王斌与斯凯荣公司签订的
                                  斯凯荣公司        王斌在斯凯荣公司任职期
（21-25）   劳动合同
                                               间担任系统架构师职务，实
   5      王斌在斯凯荣公司工作期                          际接触了涉案商业秘密。
                                  斯凯荣公司
 （26）     间的相关邮件（保密证据）


                                  1
   Case 1:18-cv-05427-JSR Document 321-8 Filed 12/01/20 Page 3 of 21




    6       王斌与斯凯荣公司签订的
                                   斯凯荣公司
 （27）       离职交接工作清单

第三部分：王斌、深圳市优克联新技术有限公司（“优克联公司”）、深圳优克云联科技

        有限公司（
            “优克云联公司”）、高文非法获取、披露、使用涉案商业秘密

    7       （2019）粤广广州第            广州市广州公
（28-319）    104563 号公证书            证处

    8       公布号为 CN105491555A      国家知识产权
（320-333） 的中国发明专利申请文本              局            四被告非法获取、披露、使

    9       公布号为 CN105282701A      国家知识产权 用涉案商业秘密。
（334-363） 的中国发明专利申请文本              局

   10       公布号为 CN105228179A      国家知识产权
（364-388） 的中国发明专利申请文本              局

第四部分：四被告的非法行为给斯凯荣公司造成了巨大经济损失，应赔偿原告经济损失

                           以及合理维权费用

                                                涉案商业秘密具有极高的
   11       （2018）粤广广州第            广州市广州公
                                                商业价值，四被告的侵权行
（389-414） 104399 号公证书              证处
                                                为给斯凯荣公司造成了巨
                                                大经济损失，原告为制止被
   12                              金杜律师事务
            律师费发票                               告侵权行为支出了合理维
（415-417）                          所
                                                权费用。




                                   2
       Case 1:18-cv-05427-JSR Document 321-8 Filed 12/01/20 Page 4 of 21




                               List of Evidences

 Submitter：Shenzhen Skyroam Technology Co., Ltd. (“Skyroam”)



 Submission Date：June ___, 2019


No.     (Page                                      Evidence        Items to be proved by Evi-
                Evidence Name
No.)                                               Source          dence

Part I: The information involved in the case belongs to trade secret of Skyroam, and is
entitled to protection according to laws.

1. The information involved in the case includes technology information and opera-
tion/business information.
                                                                   The information involved in
                The mobile roaming related
                                                                   the   case which        Skyroam
                technology information and
                                                                   claims to be entitled to pro-
                operation/business        infor-
1                                                                  tection includes technology
                mation    which      Skyroam Skyroam
（1）                                                                information       and     opera-
                claims to be entitled to pro-
                                                                   tion/business       information,
                tection   (confidential    evi-
                                                                   and     Skyroam     enjoys   the
                dence).
                                                                   rights over them.

2. The information involved in the case belongs to trade secret.

2                                                                  The information involved in
                Employee Handbook                  Skyroam
（2-18）                                                             the case fulfills all compo-
                Confidentiality Agreement                          nents required for a trade se-
3
                signed between Wang Bin Skyroam                    cret, and thus belongs to
（19-20）
                and Skyroam                                        trade secret.


Part II: Wang Bin was in touch with the trade secret involved in the case.




                                                   3
     Case 1:18-cv-05427-JSR Document 321-8 Filed 12/01/20 Page 5 of 21




              Employment          Agreement
4
              signed between Wang Bin Skyroam
（21-25）
              and Skyroam
                                                                  Wang Bin held the position
              The    relevant    emails    of
                                                                  of system architect during his
              Wang Bin during his em-
5                                                                 employment with Skyroam,
              ployment period in Sky- Skyroam
（26）                                                              and had been actually in
              roam       (confidential    evi-
                                                                  touch with the trade secret
              dence)
                                                                  involved in the case.
              The work transition list up-
6
              on termination signed by Skyroam
（27）
               Wang Bin with Skyroam
Part III: Wang Bin, Shenzhen uCloudlink New Technology Limited (“New Tech”),
Shenzhen uCloudlink Network Technology Co., Ltd. (“Shenzhen Network”), and Gao
Wen illegally obtained, disclosed, and used the trade secret involved in the case.
              Notarial     Certificate    No.
              104563, (2019) Guangzhou           Guangzhou
7
              (Documents        related     to Notary Public
（28-319）
              18-cv-5427        Downloaded Office
              from PACER system)
                                                 China National
              China invention patent ap- Intellectual             The four defendants illegally
8
              plication text with publica- Property          Ad- obtained, disclosed, and used
（320-333）
              tion No. CN105491555A              ministration     the trade secret involved in
                                                 (CNIPA)          the case.
              China invention patent ap-
9
              plication text with publica- CNIPA
（334-363）
              tion No. CN105282701A
              China invention patent ap-
10
              plication text with publica- CNIPA
（364-388）
               tion No. CN105228179A
Part IV: The illegal conducts of the four defendants have caused great economic losses
for Skyroam, and they should indemnify the plaintiff’s economic losses and the reason-
able fees incurred by plaintiff to protect its rights.




                                                 4
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            Notarial   Certificate     No.               The trade secret involved in
            104399, (2018) Guangzhou         Guangzhou   the case has extremely high
11
            (uCloudlink Online Store on Notary Public commercial           value.   The
（389-414）
            Fliggy online travel Plat- Office            right-infringing conducts of
            form)                                        the four defendants have
                                                         caused great economic losses
                                                         for Skyroam, and the plaintiff
     12                                                  has spent reasonable fees to
            Invoice of attorney fees         KWM
（415-417）                                                protect its rights and stop the
                                                         right-infringing conducts of
                                                         the defendants.




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                              补充证据目录一
                                                            （2019）粤 03 民初 2447 号



提交人：深圳市斯凯荣科技有限公司（“斯凯荣公司”）



提交日期：2019 年 8 月               日


     编号
                         证据名称                    证据来源                    证明事项
 （页码）

     13       （2019）粤广广州第                    广州信实翻译 四被告非法获取、披露、使
（418-718） 104563 号公证书翻译件                     服务有限公司          用涉案商业秘密。




             Supplemental Evidence Directory I
                                                     No. 2447, (2019) Guangzhou 03, civil


Submitter：Shenzhen Skyroam Technology Co., Ltd. (“Skyroam”)

Submission Date：August __, 2019


 No. (Page                                       Evidence     Items to be proved by Evi-
                       Evidence Name
     No.)                                        Source                  dence
              The translated text of No-
                                             Guangzhou       The four defendants illegally
              tarial     Certificate   No.
13                                           Xinshi Trans- obtained, disclosed, and used
              104563, (2019) Guangzhou
（418-718）                                    lation Service the trade secret involved in
              (translation of evidence No.
                                             Co., Ltd.       the case.
              7)




                                             6
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                     补充证据目录二
                                               （2019）粤 03 民初 2447 号


提交人：原告深圳市斯凯荣科技有限公司（“斯凯荣公司”）

提交日期：2020 年 10 月      日


  编号
                  证据名称                 证据来源             证明事项
 （页码）

   14       深圳市斯凯荣科技有限公               国家企业信用
（719-738）   司企业信用信息公示报告               信息公示系统


   15       天游国际有限公司商业登               香港特别行政
（739-754）   记证                        区公司注册处

            深圳市优克联新技术有限
   16                                 国家企业信用
            公司企业信用信息公示报
（755-775）                             信息公示系统
            告

   17       深圳优克云联科技有限公               国 家 企 业 信 用 美国专利诉讼案件的被
（776-790）   司企业信用信息公示报告               信息公示系统      告与本案被告二、三系关
                                                  联公司；美国专利诉讼案
   18       深圳网网顺科技有限公司               国 家 企 业 信 用 件的原告系本案原告的
（791-800）   企业信用信息公示报告                信息公示系统      关联公司。


   19       北京优克联技术有限公司               国家企业信用
（801-816）   企业信用信息公示报告                信息公示系统


   20       香港优克网络技术有限公               香港特别行政
（817-818）   司注册信息                     区公司注册处


   21       香港优克有限公司注册信               香港特别行政
（819-820）   息                         区公司注册处



                                  7
   Case 1:18-cv-05427-JSR Document 321-8 Filed 12/01/20 Page 9 of 21




   22         优克联招股说明书及翻译              美国证券交易
（821-847）     （摘录）                     委员会官网



   23                                  深圳市社会保
              王斌社保记录
（848-852）                              险基金管理局




    24        （2019）深南证字第 20826 深 圳 市 南 山 公
（853-1162）    号公证书（保密证据）        证处
                                                   1.相关邮件及服务器存储
                                                   的保密文件显示，斯凯荣
                                                   公司已完成涉案商业秘
                                                   密的研发，并采取保密措
    25      LIU JING 的电子邮件（保
                             LIU JING              施，斯凯荣公司依法享有
（1163-1333） 密证据）
                                                   权利；

                                                   2.王斌曾在斯凯荣公司任
                                                   职，实际接触了涉案商业

    26      斯凯荣公司与网易的邮箱 斯凯荣公司、网 秘密。
（1334-1350） 服务合同及内部审批邮件 易公司




            粤公标鉴【2019】知鉴字              广东公标知识
    27
            第 22 号司法鉴定意见书              产权司法鉴定
（1351-1566）
            （保密证据）                     所



              美国 18-cv-5427 专利案件 纽约南区法院、
    28                                             四被告非法获取、披露、
              公证认证材料及翻译（保              广州信实翻译
（1567-2041）                                        使用涉案商业秘密。
              密证据）                     服务有限公司




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   Case 1:18-cv-05427-JSR Document 321-8 Filed 12/01/20 Page 10 of 21




                                       工业和信息化
    29      工信促[2018]第 391 号测
                                       部软件与集成
（2042-2060） 试分析报告
                                       电路促进中心




    30       被告在稽查局投诉原告的
                                       被告
 （2061）      材料


                                                   1.被告自认，其 MIFI 系
                                                   列产品、手机系列产品、
                                                   Simbox 系 列 产 品 、

    31       专利实施许可合同（专利       深 圳 市 市 场 稽 Simbank 产品、物联网通
（2062-2069） 申请号：2015105590118） 查局          信模块产品等使用了原
                                           告的涉案商业秘密；
                                                   2. 涉 案 商 业 秘 密 价 值 巨
                                                   大，给斯凯荣公司的市场
                                                   和经济效益造成重大损
                                                   失；
    32       被告在贵院起诉原告的起               深 圳 市 中 级 人 3.被告依据基于斯凯荣公
（2070-2074） 诉材料                        民法院         司涉案商业秘密取得的
                                                   专利权，反过来主张斯凯
                                                   荣公司专利侵权，具有明
                                                   显恶意，性质十分恶劣。


    33       专利实施许可合同（专利
                                       被告
（2075-2081） 申请号：2015105611044）




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  Case 1:18-cv-05427-JSR Document 321-8 Filed 12/01/20 Page 11 of 21




                                                  被告非法获取、披露、使
            CN105491555A 申请信息
    34                                 国 家 知 识 产 权 用涉案商业秘密，被发现
            及审查历史文件（包括视
（2082-2083）                            局          后故意放弃相关专利，给
            为撤回通知书）
                                                  原告造成重大损失。




   35       （2018）粤广南粤第 3872 广 州 市 南 粤 公
（2084-2103） 号公证书                       证处



   36       （2018）粤广南粤第 3873 广 州 市 南 粤 公
（2104-2114） 号公证书                       证处



   37       （2018）粤广南粤第 3874 广 州 市 南 粤 公
（2115-2124） 号公证书                       证处


                                                  被告侵害了原告的商业
   38       （2018）粤广南粤第 3958 广 州 市 南 粤 公 秘密，且获利十分巨大，
（2125-2137） 号公证书                       证处         给斯凯荣公司的市场和
                                                  经济效益造成重大损失。


   39       （2019）粤广南粤第 8546 广 州 市 南 粤 公
（2138-2195） 号公证书                       证处



   40       （2019）粤广南粤第 8547 广 州 市 南 粤 公
（2196-2203） 号公证书                       证处



   41       （2019）粤广南粤第 8548 广 州 市 南 粤 公
（2204-2219） 号公证书                       证处



                                  10
   Case 1:18-cv-05427-JSR Document 321-8 Filed 12/01/20 Page 12 of 21




    42       （2018）粤广广州第                广州市广州公
（2220-2369） 104393 号公证书及翻译              证处



    43       （2018）粤广广州第                广州市广州公
（2370-2434） 104394 号公证书                 证处



    44       （2018）粤广广州第                广州市广州公
（2435-2478） 104395 号公证书                 证处



    45       （2018）粤广广州第                广州市广州公
（2479-2509） 104396 号公证书，                证处



    46       （2018）粤广广州第                广州市广州公
（2510-2566） 104397 号公证书                 证处


                                                   被告侵害了原告的商业
    47      （2018）粤广广州第                 广 州 市 广 州 公 秘密，且获利十分巨大，
（2567-2593） 104398 号                    证处         给斯凯荣公司的市场和
                                                   经济效益造成重大损失。

                                        被告、联合信任
    48      优克联公司官方网站及可
                                        时间戳服务中
（2594-2629） 信时间戳认证证书
                                        心


   49        优克联公司官方网站                  工业和信息化
 （2630）      ICP/IP 地址/域名信息             部


                        被告、联合信任
    50      优克云联公司官方网站及
                        时间戳服务中
（2631-2652） 可信时间戳认证证书
                        心


                                   11
   Case 1:18-cv-05427-JSR Document 321-8 Filed 12/01/20 Page 13 of 21




    51        优克云联公司官方网站 工业和信息化
  （2653）      ICP/IP 地址/域名信息            部



                                        广州市南粤公
    52
              公证费发票                     证处、广州市广
（2654-2662）
                                        州公证处



    53
            美国公证认证费用                    中豪律师集团
（2663-2664）




    54                                  广州信实翻译
            翻译费发票
（2665-2673）                             服务有限公司     原告为制止被告侵权行
                                                   为支出了合理维权费用。



    55                                  北京市金杜（广
            律师费发票，
（2674-2677）                             州）律师事务所


                                        广东公标知识
                                        产权司法鉴定
    56                                  所、工业和信息
            鉴定费发票
（2678-2679）                             化部软件与集
                                        成电路促进中
                                        心




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   Case 1:18-cv-05427-JSR Document 321-8 Filed 12/01/20 Page 14 of 21




           Supplemental Evidence Directory II
                                                        No. 2447, (2019) Guangzhou 03, civil


Submitter：Plaintiff Shenzhen Skyroam Technology Co., Ltd. (“Skyroam”)

Submission Date：October ___, 2020


                                                     Evidence           Items to be proved by
No. (Page No.)        Evidence Name
                                                        Source                 Evidence
                                                  National Enter-
                 Enterprise   Credit   Infor-
                                                  prises    Credit
      14         mation Publicity Report of
                                                  Information
 （719-738）       Shenzhen Skyroam Tech-
                                                  Disclosure Sys-
                 nology Co., Ltd.
                                                  tem
                                                  Companies
                 Business Registration Cer- Registry             of
      15
                 tificate of Sky Travel Ser- Hong            Kong
 （739-754）
                 vices Co., Ltd.                  Special Admin-
                                                                      The defendant of the US
                                                  istrative Region
                                                                      patent litigation is a relat-
                                                  National Enter-
                 Enterprise   Credit   Infor-                         ed company of the 2nd
                                                  prises    Credit
      16         mation Publicity Report of                           and 3rd defendants in this
                                                  Information
 （755-775）       Shenzhen uCloudlink New                              case; the plaintiff of the
                                                  Disclosure Sys-
                 Technology Limited                                   US patent litigation is a
                                                  tem
                                                                      related company of the
                                                  National Enter-
                 Enterprise   Credit   Infor-                         plaintiff in this case.
                                                  prises    Credit
      17         mation Publicity Report of
                                                  Information
 （776-790）       Shenzhen uCloudlink Net-
                                                  Disclosure Sys-
                 work Technology Co., Ltd.
                                                  tem
                                                  National Enter-
                 Enterprise   Credit   Infor-
                                                  prises    Credit
      18         mation Publicity Report of
                                                  Information
 （791-800）       Shenzhen Netshun Tech-
                                                  Disclosure Sys-
                 nology Co., Ltd.
                                                  tem

                                             13
  Case 1:18-cv-05427-JSR Document 321-8 Filed 12/01/20 Page 15 of 21




                                               National Enter-
             Enterprise   Credit     Infor-
                                               prises       Credit
   19        mation Publicity Report of
                                               Information
（801-816）    Beijing uCloudlink Tech-
                                               Disclosure Sys-
             nology Co., Ltd.
                                               tem
                                               Companies
             Registration information of
                                               Registry        of
    20       Hong    Kong       uCloudlink
                                               Hong         Kong
（817-818）    Network Technology Co.,
                                               Special Admin-
             Ltd.
                                               istrative Region
                                               Companies
             Registration information of Registry              of
    21
             Hong    Kong       uCloudlink Hong             Kong
（819-820）
             Co., Ltd.                         Special Admin-
                                               istrative Region
                                               United       States
                                               Securities     and
   22        uCloudlink Prospectus and
                                               Exchange
（821-847）    translation (excerpt)
                                               Commission
                                               official webiste

                                        Shenzhen So-                 1. Related emails and the
   23        Social insurance record of cial Insurance               confidential   documents
（848-852）    Wang Bin                   Fund Manage-                 saved on the server show
                                        ment Bureau                  that, Skyroam has already
                                                                     completed the R&D of the
             Notarial Certificate No.                                trade secret involved in
             20826, (2019) Shenzhen,
                                                                     this case, and has taken
             Nanshan (confidential evi- Notary Public
                                                                     security measures. Sky-
    24       dence)                     Office     of
                                                                     roam enjoys rights on the
（853-1162）   （ includes Emails, and Nanshan,
                                                                     trade secret according to
             Skyroam       confidential Guangzhou
             documents from Skyroam                                  laws.
             company server）                                         2. Wang Bin had been




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   Case 1:18-cv-05427-JSR Document 321-8 Filed 12/01/20 Page 16 of 21




                                                                     working in Skyroam and
                                                                     had come into contact
    25      E-mails of LIU JING (con-
                                      LIU JING                       with the trade secret in-
（1163-1333） fidential evidence)
                                                                     volved in this case.



            The email services con-
    26      tracts between Skyroam Skyroam,                  Ne-
（1334-1350） and NetEase and internal tEase
            approval emails

                                             Guangdong
               Judicial Forensic Opinion Public             Mark
    27      No. 22, Guangzhou (2019), Intellectual
（1351-1566） IP sector (confidential evi- Property Judi-
               dence)                        cial     Forensic
                                             Institute
                                             US           District
                                             Court for the
               Notary certified materials
                                             Southern        Dis-
               and translation of the US
                                             trict   of     New
     28        patent case No. 18-cv-5427
                                             York,        Guang-
（1567-2041） (confidential evidence)
                                             zhou         Xinshi
               (Notary certification from
                                             Translation             The four defendants ille-
               Matthew J Weldon)
                                             Services        Co., gally obtained, disclosed,
                                             Ltd.                    and used the trade secret
                                             China Software involved in this case.
                                             and     Integrated
                                     Chip     Promo-
    29      Test Analysis Report No.
                                     tions     Centre,
（2042-2060） 391 (2018) CSIP
                                     Industrial and
                                             Information
                                             Department




                                        15
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                The complaint materials                           1.               Defendants
     30         which defendants filed with                       self-admitted that, their
                                                  Defendants
  （2061）        Inspection Bureau against                         products such as MIFI se-
                plaintiff                                         ries, mobile phone series,
                                                                  Simbox series, Simbank,
                                                                  and IOT communication
                                                                  modules have used plain-
                Patent Exploitation License Shenzhen Mar- tiff’s trade secret involved
     31
                Contract (Patent Applica- ket Inspection in this case;
（2062-2069）
                tion No. 2015105590118)           Bureau          2. The trade secret in-
                                                                  volved in this case has
                                                                  enormous         commercial
                                                                  value, and caused serious

                The complaint materials Shenzhen    In- losses to Skyroam’s mar-
     32
            filed by defendants against termediate Peo- ket and economic inter-
（2070-2074）
            plaintiff in this Court     ple’s Court     ests.
                                                        3. It’s outrageous/vile that
                                                                  defendants, relying on the
                                                                  patents which they ob-
                                                                  tained by compromising
                Patent Exploitation License
     33                                                           Skyroam’s trade secret,
                Contract (Patent Applica- Defendants
（2075-2081）                                                       claim that Skyroam in-
                tion No. 2015105611044)
                                                                  fringes upon their patent.


                                                                  Defendants illegally ob-
                Application        information
                                                                  tained, disclosed, and used
                and review history docu-
                                                  China National the trade secret involved
                ments         of          No.
                                         Intellectual             in this case, and deliber-
    34      CN105491555A (including
                                         Property     Ad-         ately abandoned the relat-
（2082-2083） the Notification that Appli-
                                         ministration             ed patents after their con-
            cation is Deemed to be
                                         (CNIPA)                  ducts   were     discovered,
            Withdrawn)
                                                                  which     caused       serious
                (only public information)
                                                                  losses to plaintiff.

                                             16
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              Notarial   Certificate   No.
                                              Notary    Public
              3872, (2018) Guangzhou
     35                                       Office        of
              Nanyue
（2084-2103）                                   Nanyue,
              (Purchasing      uCloudlink
                                              Guangzhou
              products on www.jd.com)
              Notarial   Certificate   No.
                                              Notary    Public
              3873, (2018) Guangzhou
     36                                       Office        of
              Nanyue
（2104-2114）                                   Nanyue,
              (Purchasing      uCloudlink
                                              Guangzhou
              products on www.jd.com)
              Notarial   Certificate   No.
                                              Notary    Public
              3874, (2018) Guangzhou
     37                                       Office        of
              Nanyue                                             Defendants infringed upon
（2115-2124）                                   Nanyue,
              (Purchasing      uCloudlink                        the plaintiff’s trade secret
                                              Guangzhou
              products on www.jd.com)                            and obtained huge profits,
              Notarial   Certificate   No.                       which    caused     serious
              3958, (2018) Guangzhou Notary             Public losses to Skyroam’s mar-
     38       Nanyue                          Office        of ket and economic inter-
（2125-2137） (Purchasing        uCloudlink Nanyue,                ests.
              products      from   Sundan Guangzhou
              Store)
              Notarial   Certificate   No.
                                              Notary    Public
              8546, (2019) Guangzhou
     39                                       Office        of
              Nanyue
（2138-2195）                                   Nanyue,
              (Purchasing      uCloudlink
                                              Guangzhou
              products on www.jd.com)
              Notarial   Certificate   No.
                                              Notary    Public
              8547, (2019) Guangzhou
     40                                       Office        of
              Nanyue
（2196-2203）                                   Nanyue,
              (Purchasing      uCloudlink
                                              Guangzhou
              products on www.jd.com)




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               Notarial        Certificate   No.
                                                    Notary    Public
               8548, (2019) Guangzhou
     41                                             Office        of
               Nanyue
（2204-2219）                                         Nanyue,
               (Purchasing           uCloudlink
                                                    Guangzhou
               products on www.jd.com)
               Notarial        Certificate   No.
               104393,         (2018)   Guang- Guangzhou
     42
               zhou, and its translation            Notary    Public
（2220-2369）
               (copy of uCloudlink’s offi- Office
               cial website)
               Notarial        Certificate   No.
                                                    Guangzhou
     43        104394, (2018) Guangzhou
                                                    Notary    Public
（2370-2434） (Browsing online shop of
                                                    Office
               uCloudlink)
               Notarial        Certificate   No.
                                                    Guangzhou
     44        104395, (2018) Guangzhou
                                                    Notary    Public
（2435-2478） (Browsing online shop of
                                                    Office
               uCloudlink)
               Notarial        Certificate   No.
                                                    Guangzhou
     45        104396, (2018) Guangzhou
                                                    Notary    Public
（2479-2509） (Browsing online shop of
                                                    Office             Defendants infringed upon
               uCloudlink)
                                                                       the plaintiff’s trade secret
               Notarial        Certificate   No.
                                                    Guangzhou          and obtained huge profits,
     46        104397, (2018) Guangzhou
                                                    Notary    Public which      caused     serious
（2510-2566） (copy         of    Roamingman’s
                                                    Office             losses to Skyroam’s mar-
               official website)
                                                                       ket and economic inter-
               Notarial        Certificate   No.
                                     Guangzhou     ests.
    47      104398, (2018) Guangzhou
                                     Notary Public
（2567-2593） (Browsing online shop of
                                     Office
            uCloudlink)
                                                    Defendants,
               The New Tech official
    48                                   UniTrust Time
            website    and       trusted
（2594-2629）                              Stamp Authori-
            timestamp certification
                                         ty


                                               18
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                The ICP/IP address/domain Industrial            and
    49
                name information of New Information
  （2630）
                Tech official website            Department

                                                 Defendants,
                The Shenzhen Network of-
    50                                 UniTrust Time
            ficial website and trusted
（2631-2652）                            Stamp Authori-
            timestamp certification
                                       ty
                The ICP/IP address/domain
                                                 Industrial     and
    51          name information of Shen-
                                                 Information
  （2653）        zhen Network official web-
                                                 Department
                site
                                                 Notary       Public
                                                 Office           of
                                                 Nanyue,
     52
                Invoices of notarial fees        Guangzhou,
（2654-2662）
                                                 Guangzhou
                                                 Notary       Public
                                                 Office

                                                                       Plaintiff has spent reason-
    53      Fees of US notarial certifi- Zhonghao Law able fees to protect its
（2663-2664） cation                       Firm         rights and stop the in-
                                                                       fringing conduct of de-
                                                 Guangzhou             fendants.
    54                                           Xinshi Transla-
            Invoices of translation fees
（2665-2673）                                      tion      Services
                                                 Co., Ltd.


    55                                           Beijing      KWM
            Invoices of attorney fees
（2674-2677）                                      (Guangzhou)




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                                              Guangdong
                                              Public      Mark
                                              Intellectual
                                              Property       Judi-
                                              cial     Forensic
                                              Institute, China
    56
            Invoices of appraisal fees        Software        and
（2678-2679）
                                              Integrated Chip
                                              Promotions
                                              Centre of In-
                                              dustrial and In-
                                              formation       De-
                                              partment




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